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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

RODNEY PRICE,

     Plaintiff,                                  Civil Action No.:

v.

SAFELITE SOLUTIONS, LLC,                         JURY TRIAL DEMANDED

     Defendant.


                          COMPLAINT FOR DAMAGES

        Plaintiff Rodney Price (“Price” or “Plaintiff”) files this Complaint for

Damages against Defendant Safelite Solutions, LLC (“Safelite” or “Defendant”),

showing the Court as follows:

                          JURISDICTION AND VENUE

     1. Price bring claims pursuant to the Americans with Disabilities Act of 1990,

        as amended, 42 U.S.C. § 12101 et seq. (“ADA”), and the Family and Medical

        Leave Act, 29 U.S.C. § 2601 et seq. (“FMLA”).

     2. Price invokes the jurisdiction of this Court pursuant to 28 U.S.C. §§ 1331

        (federal question) and 28 U.S.C. §1343 (civil rights).




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3. The unlawful employment practices alleged in this Complaint were

   committed within the Gainesville Division of this District. In accord with 28

   U.S.C. § 1391, venue is appropriate in this Court.

                               THE PARTIES

4. Price is an adult citizen of the United States who resides in Braselton, Georgia

   in Hall County and submits himself to the jurisdiction of this Court. Price

   worked for Safelite in this District from 2013 until Safelite terminated his

   employment September 1, 2020.

5. Safelite is a foreign for-profit corporation licensed to do business in Georgia.

6. Safelite operates a Distribution Center at 1350 Braselton Parkway, Braselton,

   Georgia 30517 in Jackson County, Georgia.

7. At all times material Safelite has conducted business within this District.

8. Safelite may be served with process by delivering a copy of the summons and

   Complaint to its Registered Agent Corporation Service Company, 2 Sun

   Court, Suite 400, Peachtree Corners, GA 30092.

     ADMINISTRATIVE PREREQUISITES FOR ADA CLAIMS

9. Price timely filed a charge of disability discrimination and retaliation with the

   Equal Employment Opportunity Commission (“EEOC”).




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10.Price files this action within 90 days of his receipt of the EEOC’s Notice of

   Right to Sue.

                            STATEMENT OF FACTS

11.Price was born and diagnosed with Russell-Silver syndrome, a growth

   disorder. His condition substantially limits his daily life activities such as

   writing and eating, caused his thumbs to be missing a joint and unbendable,

   and has resulted in significant joint pain and other related serious medical

   conditions requiring continuing medical treatment.

12.Price worked for Safelite at its Braselton, Georgia Distribution Center (“the

   DC”) for approximately seven years. During that time he was recognized as

   a high performer. Price’s ideas for improving production at the DC were also

   regularly implemented.

13.Price was routinely recognized at Safelite for his forklift operating skill and

   productivity, including being sent to compete as the DC representative to

   Safelite’s “forklift rodeo.”

14.Although the DC implemented COVID-related layoffs and furloughs during

   2020, Price’s strong production resulted in Safelite continuing to schedule him

   to work six days a week in most workweeks in 2020.




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15.Price’s coworkers and managers at Safelite knew Price suffered from a

   disability (and/or perceived him as suffering from a disability) and other

   serious medical conditions. Safelite’s DC managers and supervisors knew

   that Price from time to time needed additional time off for medical treatment

   and that Price’s condition caused unplanned absences, tardiness, and his need

   to leave shifts early.

16.For example, with respect to tardiness, prior to 2020 DC managers and

   supervisors did not impose attendance “points” on Price for attendance issues

   related to his condition, because they were aware that Price struggled with

   pain management and had occasions when he could not sleep due to pain and

   would be tardy for his shift.

17.For many years Price’s Safelite managers and supervisors accommodated

   Price’s needs caused by his condition, treatment, serious health conditions,

   and/or related symptoms by informally excusing his absences, tardiness,

   and/or requests to leave a shift early and not imposing “attendance points.”

   When Price offered to provide doctors’ notes for any attendance issues, DC

   management assured him, doctors’ notes were not needed.

18.At no time during Price’s employment did any Safelite manager, supervisor,

   or human resources representative ever advise Price that he had rights under


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   the FMLA or the ADA, and Price remained unaware of any such rights during

   his employment. Although Safelite obtained electronic acknowledgement of

   an employee handbook from employees, Price did not have a copy of a

   handbook and was never shown or referred to any company policies regarding

   the ADA or the FMLA when he spoke with Safelite representatives about his

   medical needs.

19.Price knew that he earned paid time off (“PTO”) days and vacation days each

   calendar year of his employment, but DC management required that he and

   other employees provide advance notice of use of paid leave. In addition, DC

   management often declined to approve Price’s requests to use his paid leave

   because of the DC’s volume of work and Price’s high productivity.

20.In 2020 Safelite’s DC laid off a number of temporary employees and

   furloughed other Safelite employees, but Price continued to work and was

   scheduled for even more work hours than usual. During most of 2020, there

   was no human resources representative in the DC, and most other

   management resources had likewise been eliminated or furloughed.

21.Nicholas Morrill (“Morrill”), the DC shift manager, became Price’s direct

   supervisor upon Morrill’s return from furlough in 2020. Price soon began to




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   hear from other Safelite employees that Morrill “had it out for” Price and that

   Price should be careful.

22.Morrill, like other DC supervisors and managers, knew about Price’s

   condition and health issues, and Price told him about his continuing medical

   treatment, symptoms, the need for time off, pain-related tardiness, and other

   related circumstances. When Price communicated with Morrill about these

   issues, Morrill would refer to Price as “buddy,” a diminutive condescending

   and insulting to Price, who is less than five feet tall and weighs about 80

   pounds as a result of his growth disorder.

23.Morrill, like other DC managers and supervisors, told Price not to worry when

   Price told him about his medical needs for time off and/or to arrive late or

   leave early. Morrill also told Price that texts are “good enough,” and Price

   would show Morrill text confirmations of scheduled medical appointments.

   However, Morrill was apparently tracking Price’s attendance and counting

   absences or tardiness against Price, even when such occasions were directly

   related to Price’s medical conditions.

24.Morrill then began telling Price that Price could not use his paid time off for

   “unscheduled” medical needs, that Price could no longer come in late or leave




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   early even if related to his medical issues, and that Price must schedule his

   doctors’ appointments outside of his work hours.

25.At some point after July 2020, DC management also told Price and other

   employees that because of business needs, no one could use paid time off for

   any reason, even if the time off was requested in advance.

26.In August 2020, Morrill issued a “corrective action notice” to Price advising

   Price that he had 5.5 out of 6 possible attendance points, although Price had

   never been warned by Morrill and had no knowledge that Morrill was

   recording his medical-related absences as attendance violations. During their

   conversation about the notice, Morrill asked Price why Price was not using

   paid time off for his absences, as though Safelite had not repeatedly denied

   Price that ability. When Price said he had let Morrill know every time he had

   been tardy or absent because of his medical needs and “everything” Price

   “deals with” related to it, Morrill responded that he thought Price “does what

   he wants to do” and made clear that he was not excusing any of the attendance

   points he recorded for Price.

27.Shortly before the August 2020 meeting, Price told Morrill, operations

   manager Andy Scott, and supervisor Kyle Hawkins (“Hawkins”) that his

   doctor had advised him to go on disability leave or look for another position


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   because of the long hours and physical labor Safelite required. Price told them

   he was doing everything he could to take care of himself and continue working

   for Safelite’s benefit.

28.On August 27, 2020, Morrill told Price that he had “pointed out” but that

   “we’ll get with you on Tuesday,” September 1, 2020. Price again tried to

   explain to Morrill that he had a medical reason for the points Morrill had

   recorded, and Morrill responded, “everybody’s aware of everything.” Price

   reported to work on Saturday and Sunday, August 28 and 29, 2020.

29.Price reported to work the morning of September 1, 2020 and promptly told

   Hawkins that he needed to apply for short-term disability based on his doctor’s

   recommendation.      Hawkins initially responded “f--k,” but then said he

   understood Price needed to do what was best for him and take care of himself.

30.After allowing Price to work all but about 15 minutes of his shift on September

   1, 2020, Morrill called Price into his office. Hawkins was also present in the

   meeting and said nothing about his knowledge that Price told him that same

   morning that Price needed to apply for short-term disability. Morrill told Price

   that his employment was terminated for attendance. Morrill then told Price,

   “you should look at this as a blessing in disguise because you can’t work here

   the rest of your life with your disability.”


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31.In response to Price’s EEOC charge, Safelite falsely asserted to the Equal

   Employment Opportunity Commission that the “termination decision was

   made prior [sic] Mr. Price providing notice to anyone at Safelite of any alleged

   disability or need for medical time off of work,” despite Safelite

   management’s open knowledge of Price’s disability and medical needs, its

   years of accommodations for his medical needs, and Morrill’s abrupt refusal

   to accommodate Price, accept his notice of medical needs, and decision to

   count attendance points against Price with knowledge that Price’s absences or

   tardiness were related to his disability and serious medical conditions.

32.Safelite further falsely asserted to the Equal Employment Opportunity

   Commission that “Safelite has no record whatsoever of Mr. Price’s purported

   disability and, Mr. Price never requested leave or an accommodation due to

   his alleged disability during his employment with Safelite.”

33.Morrill falsely told Price that his Safelite benefits coverage ended effective

   October 1, 2020.

34.Although Price’s physician had recommended that he take disability leave,

   Price was unable to apply for leave when Safelite terminated his employment.

35.During the relevant time period Safelite treated similarly situated non-

   disabled employees and/or employees without serious health conditions more


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   favorably than Price. Safelite allowed those employees to arrive late, leave

   early, and take time off without recording attendance points for same; allowed

   those employees to schedule and use paid time off; allowed those employees

   to use paid time off for unscheduled attendance issues; and did not discipline

   and/or terminate those employees for purported attendance violations.

                          PLAINTIFF’S ADA CLAIMS

                             Failure to Accommodate

36.Price reasserts and incorporates by reference paragraphs 1 through 35 of the

   Complaint by reference.

37.At all relevant times Defendant was Price’s “employer” within the meaning

   of the ADA.

38.At all relevant times Price was an “employee” of Defendant within the

   meaning of the ADA.

39.Price suffers from multiple serious health conditions that substantially limited

   one or more major life activities. Such conditions are a “disability” within the

   meaning of the ADA.

40.Price has a history of these serious medical conditions, and even when not

   presently experiencing symptoms related to his growth disorder, he has a

   record of having this disability. At all relevant times Defendant knew that


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   Price suffered from this disability. In addition, at all relevant times Defendant

   perceived Price as disabled.

41.At all relevant times Price was qualified for his position at Safelite and could

   perform the essential functions of his position.

42.Prior to 2020, Defendant was aware of Price’s medical issues and informally

   accommodated Price’s disability and serious medical conditions by allowing

   him to take time off, arrive late, and/or leave early as needed for medical

   treatment and/or because he was experiencing related symptoms. Although

   Safelite had knowledge of Price’s disability, related medical issues, and

   accommodation needs, Safelite and Morrill refused to continue to

   accommodate Price and deliberately disregarded Price’s needs for reasonable

   accommodation.

43.Rather than engaging in the interactive process the ADA requires, in 2020

   Defendant refused to consider or otherwise respond to Price’s reasonable

   accommodation requests, including his request for protected time off related

   to his medical needs.

44.The accommodations sought by Price (and previously provided by Safelite)

   would have enabled Price to effectively perform the essential functions of his

   job, just as he had for years.


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45.Alternatively, had Defendant engaged in the interactive process with Price in

   a good faith effort to accommodate his disability, other reasonable

   accommodation(s) could have been identified.

46.Without providing Price with the requested accommodations or engaging in

   good faith in the interactive process required, Defendant decided to discipline

   Price and then terminate his employment.

47.Defendant failed to make reasonable accommodations for Price’s known

   disability-related limitations in violation of Defendant’s obligations under the

   ADA.

48.Defendant took adverse employment actions against Price based on the need

   to make reasonable accommodations for his disability in violation of the

   ADA.

49.Defendant intentionally, with malice and reckless indifference to Price’s

   rights, violated the ADA by taking adverse employment actions against him

   because of his disability and/or his need for reasonable accommodation.

50.As a direct and proximate result of Defendant’s conduct, Price suffered out of

   pocket losses, at times did not obtain necessary medical treatment because it

   could not be scheduled “outside” of work hours, and has been deprived of job-

   related economic benefits, including income in the form of wage and other


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   job-related benefits, health insurance benefits, and the ability to apply for

   disability benefits.

51.As a direct and proximate result of Defendant’s conduct, Defendant caused,

   and will continue to cause, Price to suffer damages for physical pain and

   suffering, emotional distress, mental anguish, loss of enjoyment of life, and

   other non-pecuniary losses all in an amount to be established at trial.

52.Price is entitled to reinstatement to Defendant’s employment, or, if

   reinstatement is not feasible under the circumstances, Price is entitled to an

   award of damages for future lost wages and benefits of employment.

       Discriminatory Discipline and Termination under the ADA

53.Plaintiff reasserts and incorporates paragraphs 1 through 52 of the Complaint

   by reference.

54.As outlined above, Defendant subjected Price to discipline and/or terminated

   Price’s employment because of his disability.          Defendant’s purported

   “reason” for such adverse treatment of Price is false and a pretext for

   intentional discrimination.

55.Defendant would not have disciplined or discharged Price had he not had a

   serious, disabling health condition, been perceived as disabled, and/or had a

   record of a disability.


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56.Defendant intentionally, with malice and reckless indifference to Price’s

   rights, disciplined Price and/or terminated his employment because of his

   disability and/or treated him differently that non-disabled coworkers with

   respect to the terms and conditions of his employment, despite Defendant’s

   knowledge that the ADA required equal terms, conditions and privileges of

   employment for employees with a disability, perceived as disabled, or record

   of disability.

57.As a direct and proximate result of Defendant’s intentional discrimination in

   violation of the ADA, Price suffered out of pocket losses and has been

   deprived of job-related economic benefits, including income in the form of

   wages and other job-related benefits, health insurance benefits, and disability

   benefits.

58.Defendant caused, and will continue to cause, Price to suffer damages for

   physical pain and suffering, emotional distress, mental anguish, loss of

   enjoyment of life, and other non-pecuniary losses all in an amount to be

   established at trial.

59.Price is entitled to reinstatement to Defendant’s employment, or, if

   reinstatement is not feasible under the circumstances, Price is entitled to an

   award of damages for future lost wages and benefits of employment.


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                           Retaliation under the ADA

60.Price reasserts and incorporates paragraphs 1 through 59 of the Complaint by

   reference.

61.Price requested reasonable accommodation for his disability.         Morrill

   responded to those requests by repeatedly referring to Price as “buddy” and

   pretending to acknowledge Price’s needs while at the same time recording

   attendance points for attendance concerns that should have been excused had

   Price been accommodated.

62.Safelite retaliated against Price by counting known disability-related

   attendance against Price, rejecting Price’s attempts to use paid time off for

   same, advising Price that his doctor’s appointments must be scheduled outside

   work hours, deliberately disregarding Price’s need for accommodation,

   subjecting Price to discipline, and terminating Price’s employment in

   violation of the company’s own professed policies and federal laws. Safelite

   further treated similarly situated non-disabled employees who had not sought

   accommodation differently from Price.

63.Defendant denied Price’s requests for accommodation and did not engage in

   the interactive process with him in good faith. But for Price’s requests for




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   accommodation, he would not have been disciplined and/or his employment

   would not have been terminated.

64.Defendant’s discipline of Price and/or termination of Price’s employment

   were in retaliation for his opposition to Defendant’s attempts to pretextually

   record attendance “points” against him and his requests for reasonable

   accommodation.

65.Defendant’s adverse treatment of Price interfered with his right to receive

   reasonable accommodation and thus also constituted unlawful retaliation in

   violation of the ADA.

66.Defendant intentionally, with malice and reckless indifference to Price’s

   rights, subjected Price to adverse treatment in retaliation for his protected

   exercise of rights under the ADA.

67.As a direct and proximate result of Defendant’s intentional retaliation in

   violation of the ADA, Price suffered out of pocket losses and has been

   deprived of job-related economic benefits, including income in the form of

   wages and other job-related benefits, health insurance benefits, and disability

   benefits.

68.Defendant caused, and will continue to cause, Price to suffer damages for

   physical pain and suffering, emotional distress, mental anguish, loss of


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   enjoyment of life, and other non-pecuniary losses all in an amount to be

   established at trial.

69.Price is entitled to reinstatement to Defendant’s employment, or, if

   reinstatement is not feasible under the circumstances, Price is entitled to an

   award of damages for future lost wages and benefits of employment.

       FMLA VIOLATIONS – PLAINTIFF’S INTERFERENCE AND
         RETALIATION CLAIMS AGAINST DEFENDANT

70.Plaintiff reasserts and incorporates paragraphs 1 through 69 of the Complaint

   by reference.

71.Defendant employed Plaintiff for more than twelve months prior to September

   2020. At all times relevant, Plaintiff worked sufficient hours to qualify for

   FMLA leave.

72.At all material times, Plaintiff has been an “eligible employee” of Defendant

   within the meaning of the FMLA.          Defendant employed fifty or more

   employees within a seventy-five radius of the worksite at which Plaintiff

   worked during each of at least twenty calendar workweeks in 2020.

73.At all materials times, Defendant has been an “employer” within the meaning

   of the FMLA.

74.During the relevant time period, Price was entitled to leave, including but not

   limited to intermittent leave, under the FMLA related to the serious health

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   conditions from which he suffered. Rather than allowing Price to use FMLA

   leave, Defendant subjected Price to adverse actions, including discipline and

   termination.

75.Safelite failed to inform Price of his protected rights under the FMLA and

   interfered with, restrained and/or failed to allow Price to take FMLA leave to

   seek treatment for his serious health conditions despite its knowledge of his

   need for FMLA leave.

76.Safelite further subjected Price to adverse employment actions due to his

   attempts to exercise rights protected by the FMLA. Price was disciplined,

   subject to disparate terms and conditions of employment as compared to

   employees who did not suffer from serious health conditions, denied protected

   leave, disciplined, and eventually terminated.

77.Defendant would not have taken these adverse employment actions had

   Plaintiff not requested leave that should have been granted and excused from

   attendance points in accord with the FMLA.

78.Defendant’s denial of notice to Price and intentional interference with and/or

   retaliation for Plaintiff’s attempts to exercise FMLA-protected rights resulted

   in his out of pocket losses, and Price has been deprived of job-related




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   economic benefits, including income in the form of wages and other job-

   related benefits, health insurance, and/or disability benefits.

79.Defendant’s violation of the FMLA was knowing and willful. Defendant

   knew or showed reckless disregard for the fact that its conduct was in violation

   of the FMLA.

80.Plaintiff is also entitled to reinstatement to Defendant’s employment, or, if

   reinstatement is not feasible under the circumstances, Plaintiff is entitled to an

   award of damages for future lost wages and benefits of employment.

                              PRAYER FOR RELIEF

   Price seeks judgment on his claims against Defendant and relief as follows:

   (a) Trial by jury as to all issues so triable;

   (b) Judgment for all damages, lost wages, benefits or other expenses which

         Plaintiff sustained as a result of Defendant’s conduct in violation of the

         FMLA, including an equal amount as liquidated damages;

   (d)   Judgment for all damages, lost wages, benefits, expenses, or other

         compensation Price lost as a result of Defendant’s violations of the

         ADA;




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 (e)   Judgment for all damages for Price’s mental and emotional suffering,

       other pain and suffering, and out of pocket losses suffered as a result of

       Defendant’s violations of the ADA;

 (f)   In the alternative, award(s) of nominal damages under the FMLA

       and/or ADA;

 (g)   Judgment ordering reinstatement of Price or an award of front pay

       equivalent to the pay and benefits Price would likely have earned were

       it not for Defendant’s unlawful acts;

 (h)   Judgment awarding pre-judgment interest on all unpaid wages or other

       damages from the date such wages were earned and due or such

       damages were incurred;

 (i)   Judgment awarding Price reasonable attorneys’ fees and expenses of

       litigation;

 (j)   A permanent injunction enjoining Defendant, its officers, agents,

       successors, employees, attorneys and those acting in concert with them

       from engaging in (i) any employment practice or policy which

       discriminates or retaliates against employees in violation of the ADA,

       or (2) any employment practice or policy which interferes with rights




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       protected under the FMLA and/or retaliates against employees in

       violation of the FMLA; and

 (k) All other relief to which Plaintiffs may be entitled.



 Respectfully submitted, this 25th day of June, 2021.


                                    /s/Tracey T. Barbaree
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